SOUTHERN DISTRICT OF MISSISSIPPI -
FILED
CRIMINAL CASE COVER SHEET
U.S. District Court ARTHUR JOHNSTON ay
PLACE OF OFFENSE: =
RELATED CASE INFORMATION:
City: SUPERSEDING INDICTMENT DOCKET # ZQa (R123 -TS\- FAP
SAME DEFENDANT NEW DEFENDANT.
COUNTY: Rankin MAGISTRATE JUDGE CASE NUMBER
R 20/ R 40 FROM DISTRICT OF
DEFENDANT INFORMATION:
JUVENILE: YES _X NO
MATTER TO BE SEALED: _X__ YES No
NAME/ALIAS: Jessica Hill
U.S. ATTORNEY INFORMATION:
AUSA Glenda R. Haynes BAR #2132
AUSA Eric Peffley BAR #0396652
INTERPRETER: X__ NO YES LIST LANGUAGE AND/OR DIALECT:
LOCATION STATUS: ARREST DATE
ALREADY IN FEDERAL CUSTODY AS OF
ALREADY IN STATE CUSTODY
ON PRETRIAL RELEASE
U.S.C. CITATIONS
TOTAL # OF COUNTS: _1 PETTY MISDEMEANOR ] FELONY
(CLERK’S OFFICE USE ONLY) INDEX KEY/CODE DESCRIPTION OF OFFENSE CHARGED COUNT(S)
Set | 18:242.F 18 USC § 242 Deprivation of Rights Under Color 1
of Law

Set 2

Set 3

Set 4

Set 5

SIGNATURE OF AUSA: onal RR aie
